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                           UNITED STATES DISTRICT COURT
                               DISTRICT OF COLUMBIA


 RFE/RL, INC.,

                       Plaintiff,
                                                   Case No. 1:25-cv-799-RCL
 v.

 KARI LAKE, in her official capacity as Senior
 Advisor to the Acting CEO of the United
 States Agency for Global Media;

 VICTOR MORALES, in his official capacity as
 acting Chief Executive Officer of the United
 States Agency for Global Media; and

 UNITED STATES AGENCY FOR GLOBAL
 MEDIA,

                       Defendants.


                 NOTICE OF DEVELOPMENTS AT THE D.C. CIRCUIT

       RFE/RL respectfully submits this Notice to apprise the Court of recent developments

regarding the appeal of this case at the D.C. Circuit. On July 1, the D.C. Circuit granted

Defendants’ motion for voluntary dismissal of Defendants’ appeal and denied RFE/RL’s request

to vacate the motions panel’s stay order. See Order, RFE/RL, Inc. v. Lake, No. 25-5158 (D.C. Cir.

July 1, 2025), Doc. #2123323. The en banc D.C. Circuit then issued an order denying RFE/RL’s

motion for en banc reconsideration and dissolving the administrative stay of the motions panel’s

stay order. See Order, RFE/RL, Inc. v. Lake, No. 25-5158 (D.C. Cir. July 1, 2025), Doc. #2123325.

Accordingly, no aspect of this case remains pending before the D.C. Circuit.

       The D.C. Circuit’s decision not to vacate the motions panel’s stay order, Doc. #2114775,

should have no effect on further proceedings in this case. As Defendants argued in their reply in
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support of voluntary dismissal, that stay order has now “expire[d] of its own force” due to the

dismissal of the appeal, and it is “not particularly important whether the decision is formally

vacated.” Reply at 5, RFE/RL, Inc. v. Lake, No. 25-5158 (D.C. Cir. June 2, 2025), Doc. #2118490.

The motions panel in the RFE/RL appeal issued an unpublished stay decision, which “means that

the panel sees no precedential value in that disposition.” D.C. Cir. R. 36(e)(2); see also Defs.’

Suppl. Br. Under May 30, 2025 Order at 6, Am. Foreign Serv. Ass’n v. Trump, No. 1:25-cv-00352

(D.D.C. June 6, 2025), ECF 89 (explaining that the “motions panel did not designate [the

Widakuswara stay] decision for publication as precedent” (citing D.C. Circuit Handbook of

Practice and Internal Procedure 43 (2024)).

       In light of these developments, RFE/RL’s pending motion for a preliminary injunction is

ripe for a decision. There are no outstanding matters pending before the D.C. Circuit with regard

to RFE/RL. While the other grantees’ appeals remain pending, it is unlikely the D.C. Circuit will

resolve those appeals any time soon. See Order, Widakuswara v. Lake, Nos. 25-5144, 25-5145,

25-5150, 25-5151 (D.C. Cir. July 1, 2025) (scheduling oral argument for September 22, 2025),

Doc. #2123364.

       It has now been approximately six weeks since USAGM has engaged with RFE/RL on the

FY 2025 Master Grant Agreement. See ECF 62-3 at 2–3. RFE/RL continues to suffer irreparable

harm due to the uncertainty each month as to whether and when RFE/RL will receive its

congressionally appropriated funds. RFE/RL therefore respectfully requests that this Court grant

its pending motion for a preliminary injunction and avoid the need for further emergency motions

practice.




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July 7, 2025                              Respectfully submitted,

                                          /s/ Marney L. Cheek
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on July 7, 2025, I filed the foregoing document with the Clerk of

Court for the United States District Court for the District of Columbia using the court’s CM/ECF

filing system, which will send notification of such filing via e-mail to all counsel of record.



                                                      Respectfully submitted,

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